                         CASE 0:13-cv-00857-RHK-TNL Document 61 Filed 07/24/14 Page 1 of 2
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                                  UNITED STATES DISTRICT COURT
                                                                   District of Minnesota

Twin City Carpenters Pension Master Trust
Fund, John Raines and Tim McGough, as
Trustees of the Twin City Carpenters Pension                                  JUDGMENT IN A CIVIL CASE
Master Trust Fund, and each of their successors

    V.
                                                                                      Case Number: 13-857 RHK/TNL
Phantom Construction Services, LLC, Scott
Steffen d/b/a Phantom Construction Services,
and Scott Steffen, individually, and CR Facility
Services, LLC, CR Facilities Services, LLC,
Carver Commercial Doors, LLC, J & J Holdings
Group, LLC, SJS Drywall, LLC, Wyaz Services
Ltd., Scott Steffen d/b/a CR Facility Services,
CR Facilities Services, Carver Commercial
Doors, J & J Holdings Group, SJS Drywall, and
Wyaz Services, Ltd.


      Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
      has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED THAT:
      1. The Court approves the terms of the settlement as set forth in the Stipulation in Twin City Carpenters
      Pension Master Trust Fund et al v. Phantom Construction Services, LLC et al., Civ. No. 13-857
      (RHK/TNL);
      2. The Court has jurisdiction over the subject matter and the parties in this action and retains jurisdiction
      over (a) implementation of the Stipulation and any award or distribution of settlement payments and (b)
      construction, enforcement and administration of the Stipulation;
      3. Plaintiffs shall recover of Defendants Phantom Construction Services, LLC, CR Facilities Services, LLC,
      Carver Commercial Doors, LLC, J & J Holdings Group, LLC, SJS Drywall, LLC, and Wyaz Services Ltd.,
      jointly and severally, the sum of $373,593.06;
      4. All of Plaintiffs’ claims against Defendants CR Facility Services, LLC, and Scott Steffen d/b/a Phantom
      Construction Services, CR Facility Services, CR Facilities Services, Carver Commercial Doors, J & J
      Holdings Group, SJS Drywall, and Wyaz Services, Ltd., are DISMISSED WITH PREJUDICE; and
      5. Pursuant to the parties’ July 21, 2014 Stipulation (Doc. No. 58), all of Plaintiffs’ claims against Scott
      Steffen, individually, are DISMISSED WITH PREJUDICE.

                                   July 24, 2014                                        RICHARD D. SLETTEN, CLERK
Date
                                                                                                 s/A. Linner
                                                                               (By)                    A. Linner Deputy Clerk
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                         CASE 0:13-cv-00857-RHK-TNL Document 61 Filed 07/24/14 Page 2 of 2




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